Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 1 of 156




           EXHIBIT A
                 Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 2 of 156
09351905232019          Mercer County PA, Prothonotary's Office                     Page     1
     PYSPRT                       Civil Case Detail Report                           5/23/2019
Case No........... 2018-01130    BESSEMER SYSTEM FEDERAL CREDIT (vs) FISERV SOLUTIONS LLC
Reference No......                                                Filed..........   4/20/2018
Case Type......... CONTRACT - OTHER                               Time...........        4:27
Judgment..........               $.00                             Execution Date.   0/00/0000
Judge Assigned....                                                Jury Trial.....
Disposed Desc.....                                                Disposed Date..   0/00/0000
------------ Case Comments ------------                           Higher Crt 1...
                                                                  Higher Crt 2...

******************************************************************************************
                                    ++ GENERAL INDEX ++
Indexed Party                                             Attorney Info
BESSEMER SYSTEM FEDERAL CREDIT       PLAINTIFF            PARKS RICHARD J
  UNION                                                     7 WEST STATE STREET
                                                            SUITE 100
                                                            SHARON, PA 16146
                                                          NERKO CHARLES J
                                                            1633 BROADWAY - 31ST FLOOR
                                                            VEDDER PRICE PC
                                                            NEW YORK, NY 10019
FISERV SOLUTIONS LLC                   DEFENDANT           EPSTEIN RICHARD W
  FRISCO, TX 75034                                           68 BUHL BLVD
                                                             P O BOX 91
                                                             SHARON, PA 16146
                                                           KELLOGG SARAH C
                                                             68 BUHL BLVD
                                                             P O BOX 91
                                                             SHARON, PA 16146
                                                           WRONSKI ANDREW J
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
                                                           PATTERSON TIMOTHY J
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
                                                           HAAS ELIZABETH N A
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
FISERV SOLUTIONS INC                   DEFENDANT           EPSTEIN RICHARD W
  FRISCO, TX 75034                                           68 BUHL BLVD
                                                             P O BOX 91
                                                             SHARON, PA 16146
                                                           KELLOGG SARAH C
                                                             68 BUHL BLVD
                                                             P O BOX 91
                                                             SHARON, PA 16146
                                                           WRONSKI ANDREW J
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
                                                           PATTERSON TIMOTHY J
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
                                                           HAAS ELIZABETH N A
                                                             777 EAST WISCONSIN AVENUE
                                                             MILWAUKEE, WI 53202
******************************************************************************************
                                   ++ DOCKET ENTRIES ++
  Date       Entry Text
             - - - - - - - - - - - - - FIRST ENTRY - - - - - - - - - - - - - -
 4/20/2018   CAPTION: BESSEMER SYSTEM FEDERAL CREDIT UNION A NOT-FOR-PROFIT
             FEDERAL CREDIT UNION VS. FISERV SOLUTIONS LLC A WISCONSIN LIMITED
             LIABILITY CORPORATION F/K/A FISERV SOLUTIONS INC A WISCONSIN
             CORPORATION
             -------------------------------------------------------------------
 4/20/2018   PRAECIPE FOR WRIT OF SUMMONS IN CIVIL ACTION F/ATTY RICHARD J
             PARKS WRIT ISSUED (2) ATTESTED WRITS TO ATTY FOR SERVICE
             -------------------------------------------------------------------
 4/24/2018   NOTICE OF PRESENTATION OF MOTION FOR THE ADMISSION PRO HAC VICE OF
             CHARLES J NERKO F/ATTY PARKS
             -------------------------------------------------------------------
 4/24/2018   MOTION FOR ADMISSION PRO HAC VICE OF CHARLES J NERKO F/ATTY PARKS
                 Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 3 of 156
09351905232019          Mercer County PA, Prothonotary's Office                     Page     2
     PYSPRT                       Civil Case Detail Report                           5/23/2019
Case No........... 2018-01130    BESSEMER SYSTEM FEDERAL CREDIT (vs) FISERV SOLUTIONS LLC
Reference No......                                                Filed..........   4/20/2018
Case Type......... CONTRACT - OTHER                               Time...........        4:27
Judgment..........               $.00                             Execution Date.   0/00/0000
Judge Assigned....                                                Jury Trial.....
Disposed Desc.....                                                Disposed Date..   0/00/0000
------------ Case Comments ------------                           Higher Crt 1...
                                                                  Higher Crt 2...
             TO CT ADM (W/PROPOSED ORDERS)
             -------------------------------------------------------------------
4/25/2018    ORDER 04/24/2018 UPON CONSIDERATION OF THE MOTION FOR ADMISSION
             PRO HAC VICE PF CHARLES J NERKO AUBMITTED BY BESSEMER SYSTEM
             FEDERAL CREDIT THAT THE MOTION BE PLACED ON THIS COURTS MOTIONS
             CALENDAR FOR ON 04/30/2018 AT 9:00 AM IN COURTROOM NO 3 RGY FILED
             04/25/2018 CC: ATTY PARKS, CA
             -------------------------------------------------------------------
4/30/2018    ORDER OF COURT OF 4/30/18 - UPON CONSIDERATION OF PLF'S MOTION FOR
             ADMISSION PRO HAC VICE OF CHARLES J NERKO - ORDERED THAT PLF'S
             MOTION IS GRANTED. MR NERKO IS SPECIALLY ADMITTED TO THE BAR OF
             THIS COURT FOR THE PURPOSE OF REPRESENTING PLF IN THE ABOVE ACTION
              DPW FILED 5/1/18 CC ATTYS PARKS & NERKO, CT ADM
             -------------------------------------------------------------------
5/11/2018    AFFIDAVIT OF SERVICE OF PRAECIPE FOR WRIT OF SUMMONS IN CIVIL
             ACTION UPON DEFT BY CERT MAIL ON 4/26/18 F/ATTY PARKS
             -------------------------------------------------------------------
6/22/2018    ORDER OF 6/21/18 A STATUS CONFERENCE SHALL BE HELD ON 8/16/18 AT
             10:00 AM IN CT RM #1 ETC CJS FILED 6/25/18 CC; AATY PARKS ATTY
             NERKO CT ADM
             -------------------------------------------------------------------
7/16/2018    MOTION TO RESCHEDULE STATUS CONFERENCE S/ATTY PARKS & ATTY NERKO
             FILED TO CT ADM (W/PROPOSED ORDER OF COURT)
             -------------------------------------------------------------------
7/18/2018    ORDER OF COURT OF 7/18/18 UPON CONSIDERATION OF PLF BESSEMER
             SYSTEM FEDERAL CREDIT UNION'S MOTION TO RESCHEDULE STATUS
             CONFERENCE IT IS HEREBY ORDERED THAT PLF'S MOTION IS GRANTED THE
             STATUS CONFERENCE SET FOR 8/16/18 IS CANCELLED AND RESCHEDULED TO
             8/27/18 @ 1:00PM CT RM #1 ETC CJS FILED 7/20/18 CC: ATTY PARKS
             ATTY NERKO DEFTS CT ADM
             -------------------------------------------------------------------
8/22/2018    PLFS SUMMARY PURSUANT TO L317(C) F/ATTY PARKS
             -------------------------------------------------------------------
8/22/2018    PRAECIPE FOR ENTRY OF APPEARANCE ON BEHALF OF DEFTS F/ATTY RICHARD
             W EPSTEIN AND SARAH C KELLOGG
             -------------------------------------------------------------------
8/22/2018    DEFT'S STATUS REPORT F/ATTY EPSTEIN
             -------------------------------------------------------------------
8/27/2018    MOTION FOR PRO HAC VICE ADMISSION OF ELIZABETH A N HAAS F/ATTY
             EPSTEIN   TO CT ADM BY ATTY
             -------------------------------------------------------------------
8/27/2018    MOTION FOR PRO HAC VICE ADMISSION OF TIMOTHY J PATTERSON F/ATTY
             EPSTEIN    TO CT ADM BY ATTY
             -------------------------------------------------------------------
8/27/2018    MOTION FOR PRO HAC VICE ADMISSION OF ANDREW J WRONSKI F/ATTY
             EPSTEIN   TO CT ADM BY ATTY
             -------------------------------------------------------------------
8/28/2018    ORDER OF 8/27/18 - ORDERED THAT THE MOTION FOR ADMISSION PRO HAC
             VICE IS GRANTED AND ANDREW J WRONSKI SQ IS HEREBY ADMITTED PRO HAC
             VICE FOR PURPOSES OF THIS MATTER CJS SR JUDGE FILED 8/28/18 CC
             ATTYS PARKS, NERKO, KELLOGG, EPSTEIN & WRONSKI
             -------------------------------------------------------------------
8/28/2018    ORDER OF 8/27/18 - ORDERED THAT THE MOTION FOR ADMISSION PRO HAC
             VICE IS GRANTED AND TIMOTHY J PATTERSON ESQ IS HEREBY ADMITTED PRO
             HAC VICE FOR PURPOSES OF THIS MATTER CJS SR JUDGE FILED 8/28/18
             CC   ATTYS PARKS, NERKO, KELLOGG, EPSTEIN & PATTERSON
             -------------------------------------------------------------------
8/28/2018    ORDER OF 8/27/18 - ORDERED THAT THE MOTION FOR ADMISSION PRO HAC
             VICE IS GRANTED AND ELIZABETH A N HAAS ESQ IS HEREBY ADMITTED PRO
             HAC VICE FOR PURPOSES OF THIS MATTER CJS SR JUDGE FILED 8/28/18
             CC   ATTYS PARKS, NERKO, KELLOGG, EPSTEIN & HAAS
             -------------------------------------------------------------------
8/28/2018    CASE MANAGEMENT ORDER OF 8/27/18 ON STATUS CONFERENCE AT WHICH
             TIME BOTH PARTIES APPEARED AND REQUESTED THIS CASE BE DESIGNATED A
             COMPLEX CASE WITH DISCOVERY DEADLINE OF 11/30/19 ETC A REVIEW
                 Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 4 of 156
09351905232019          Mercer County PA, Prothonotary's Office                     Page     3
     PYSPRT                       Civil Case Detail Report                           5/23/2019
Case No........... 2018-01130    BESSEMER SYSTEM FEDERAL CREDIT (vs) FISERV SOLUTIONS LLC
Reference No......                                                Filed..........   4/20/2018
Case Type......... CONTRACT - OTHER                               Time...........        4:27
Judgment..........               $.00                             Execution Date.   0/00/0000
Judge Assigned....                                                Jury Trial.....
Disposed Desc.....                                                Disposed Date..   0/00/0000
------------ Case Comments ------------                           Higher Crt 1...
                                                                  Higher Crt 2...
             CONFERENCE SHALL BE HELD ON 3/8/19 AT 10:30 AM IN CT RM#1 CJS
             FILED 8/28/18 CC; ATTY PARKS ATTY NERKO ATTY EPSTEIN ATTY KELLOGG
             ATTY WRONSKI ATTY PATTERSON ATTY HAAS CT ADM
             -------------------------------------------------------------------
3/08/2019    ORDER OF 3/8/19 - MATTER BEFORE COURT FOR REVIEW CONFERENCE AT
             WHICH TIME BOTH ATTYS APPEARED IN CHAMBERS AND REQUESTED THAT A
             REVIEW CONFERENCE BE HELD IN MID-SUMMER. ORDERED THAT A REVIEW
             CONFERENCE SHALL BE HELD ON 7/29/19 AT 10:00 CT 1 CJS SR JUDGE
             FILED 3/11/19 CC ATTYS PARKS, NERKO, EPSTEIN, KELLOGG, WRONSKI,
             PATTERSON & HAAS, CT ADM
             -------------------------------------------------------------------
4/26/2019    MOTION TO FILE EXHIBITS UNDER SEAL F/ATTY PARK
             -------------------------------------------------------------------
4/26/2019    ORDER 04/26/2019 UPON CONSIDERATION OF THE MOTION TO FILE EXHIBITS
             UNDER SEAL SUBMITTED BY BESSEMER SYSTEM FEDERAL CREDIT UNION IT IS
             HEREBY ORDERED THAT THE MOTION BE PLACED ON THIS COURTS MOTIONS
             CALENDER FOR MONDAY 05/06/2019 @ 9:00 AM IN COURTROOM NO 1 CJS
             FILED 04/26/2019 CC: ATTY PARKS ATTY NERKO ATTY EPSTEIN ATTY
             KELLOGG ATTY WRONSKI ATTY PARRERSON ATTY HAAS CA
             -------------------------------------------------------------------
4/26/2019    COMPLAINT F/ATTY PARKS
             -------------------------------------------------------------------
4/26/2019    CERTIFICATION OF COMPLIANCE F/ATTY PARKS
             -------------------------------------------------------------------
4/26/2019    MOTION TO FILE EXHIBITS UNDER SEAL F/ATTY PARKS TO CA W/ORDER
             -------------------------------------------------------------------
5/02/2019    ORDER OF 5/2/19 - ORDERED THAT THE HEARING REGARDING PLF'S MOTION
             TO FILE DOCUMENTS UNDER SEAL SCHEDULED FOR 5/6/19 IS BEING MOVED
             AND WILL BE HEARD ON 5/20/19 AT 9:00 CT 1 CJS SR JUDGE FILED
             5/3/19 CC ATTYS PARKS, NERKO, KELLOGG, EPSTEIN, PATTERSON,
             WRONSKI, HAAS, CT ADM
             -------------------------------------------------------------------
5/16/2019    RESPONSE TO PLFS MOTION TO FILE EXHIBITS UNDER SEAL AND REQUEST TO
             FILE RELATED MATERIALS UNDER SEAL F/ATTY EPSTEIN    TO CT ADM
             -------------------------------------------------------------------
5/17/2019    SCHEDULING ORDER OF 5/17/19 THE DEFT FISERV SOLUTION INCS REQUEST
             TO FILE RELATED MATERIALS UNDER SEAL IN MOTIONS COURT ON 5/20/19
             AT 9:00 AM IN CT RM #1 CJS FILED 5/17/19 CC: ALL ATTYS OF RECORD
             CT ADM
             -------------------------------------------------------------------
5/20/2019    AFFIDAVIT OF SERVICE OF COMPLAINT UPON DEFT FISERV INC C/O
             CORPORATION SERVICE COMPANY, MADISON WI 53717 BY FED EX ON 5/14/19
             F/ATTY KETTERING
             -------------------------------------------------------------------
5/21/2019    ORDER OF 5/20/19 FOR ARGUMENT ON PLFS MOTION TO FILE EXHIBITS
             UNDER SEAL IT IS ORDERED THAT THE PLFS COUNSEL SHALL SUBMIT A
             MEMORANDUM IN OPPOSITION TO DEFTS RESPONSE TO THE COURT BY 5/24/19
             AND DEFENSE COUNSEL SHALL SUBMIT ITS REPLY TO MEMORANDUM TO THE
             COURT BY 5/31/19 CJS FILED 5/21/19 CC; ATTYS PARKS,
             NERKO,EPSTEIN, KELLOGG, WRONSKI, PATTERSON & HAAS
             - - - - - - - - - - - - - - LAST ENTRY - - - - - - - - - - - - - -
******************************************************************************************
                                  ++ Escrow Information ++
Cost / Fee                        Beg. Balance      Pymts/Adjmts      End. Balance
JCS FEE.                               $40.25            $40.25              $.00
PR WRIT SUMMONS                        $75.00            $75.00              $.00
TAX ON SUMMONS                           $.50              $.50              $.00
DISC                                    $7.50             $7.50              $.00
PRO AUTO FUND                           $5.00             $5.00              $.00
                                  ------------      ------------      ------------
                                      $128.25           $128.25              $.00
******************************************************************************************
                                  End of Case Information
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 5 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 6 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 7 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 8 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 9 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 10 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 11 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 12 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 13 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 14 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 15 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 16 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 17 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 18 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 19 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 20 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 21 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 22 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 23 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 24 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 25 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 26 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 27 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 28 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 29 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 30 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 31 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 32 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 33 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 34 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 35 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 36 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 37 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 38 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 39 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 40 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 41 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 42 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 43 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 44 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 45 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 46 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 47 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 48 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 49 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 50 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 51 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 52 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 53 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 54 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 55 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 56 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 57 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 58 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 59 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 60 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 61 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 62 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 63 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 64 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 65 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 66 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 67 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 68 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 69 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 70 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 71 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 72 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 73 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 74 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 75 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 76 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 77 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 78 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 79 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 80 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 81 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 82 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 83 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 84 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 85 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 86 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 87 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 88 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 89 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 90 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 91 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 92 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 93 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 94 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 95 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 96 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 97 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 98 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 99 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 100 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 101 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 102 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 103 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 104 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 105 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 106 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 107 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 108 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 109 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 110 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 111 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 112 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 113 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 114 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 115 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 116 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 117 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 118 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 119 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 120 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 121 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 122 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 123 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 124 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 125 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 126 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 127 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 128 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 129 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 130 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 131 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 132 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 133 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 134 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 135 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 136 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 137 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 138 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 139 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 140 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 141 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 142 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 143 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 144 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 145 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 146 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 147 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 148 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 149 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 150 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 151 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 152 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 153 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 154 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 155 of 156
Case 2:19-cv-00624-RJC Document 1-2 Filed 05/28/19 Page 156 of 156
